                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

UNITED STATES OF AMERICA                                 )
                                                         )
v.                                                       )       NO. 3:14-00200
                                                         )       JUDGE CAMPBELL
QUINTON LEAVELL, et al.                                  )

                                                ORDER

        The trial in this case is set for March 24, 2015, at 9:00 a.m. A pretrial conference is

scheduled for March 23, 2015, at 3:00 p.m. A status conference is scheduled for March 13, 2015,

at 8:30 a.m. All lawyers who will try the case shall attend the status conference.

        Any plea agreement shall be consummated by March 16, 2015, and the Courtroom Deputy

so notified. Any proposed plea agreement shall be submitted to the Court by March 17, 2015. If a

plea agreement is submitted, the hearing to take the plea will take place on March 23, 2015, at 3:00

p.m.

        Defendant Quinton Leavell’s Motion To Extend The Time To File Pretrial Motions And

Related Deadlines (Docket No. 13) is GRANTED. The pretrial filing motion deadline is extended

to March 9, 2015.

                                       Pretrial Filing Deadlines

        The parties shall file the following with the Court, on or before March 16, 2015, if the case

is to be tried: (1) case specific jury instructions, with citations to supporting authorities, and verdict

forms; and (2) motions in limine. Counsel for the parties shall comply timely with the discovery and

motion provisions of LCrR 12.01 and 16.01.

                                             Continuances




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       Any motion to continue the trial, pretrial conference or plea dates shall be filed no later than

one week before the pretrial conference date. Any motion to continue the trial shall attach a Speedy

Trial Waiver signed by the Defendant or an explanation of why the Waiver is not attached.

                                            Attendance

       All Defendants shall attend all Court proceedings in this case. If a Defendant is in custody,

the Government shall take all necessary actions to secure the timely presence of the Defendant.

                                        CJA Fund Requests

       In any request for CJA funds pursuant to 18 U.S.C. § 3006A(e), counsel shall indicate

whether prior requests have been made, and if so, provide identifying information for those requests.

       It is so ORDERED.

                                               ____________________________________
                                               TODD J. CAMPBELL
                                               UNITED STATES DISTRICT JUDGE




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